          Case 1:21-cv-12039-IT Document 67 Filed 05/24/23 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 MICHAEL BUSH,                                *
                                              *
        Plaintiff,                            *
                                              *
                v.                            *       Civil Action No. 1:21-cv-12039-IT
                                              *
 ACTON-BOXBOROUGH REGIONAL                    *
 SCHOOL DISTRICT, PETER LIGHT,                *
 DAWN GRIFFIN BENTLEY, and ERIN               *
 O’BRIEN BETTEZ,

        Defendants.

                                 ORDER OF DISMISSAL

                                       May 24, 2023
TALWANI, D.J.

       Pursuant to the court’s Memorandum and Order [#65] granting Defendants’ Motion to

Dismiss Plaintiff’s First Amended Complaint [#43], the Amended Complaint [#37] is hereby

DISMISSED. This case is CLOSED.

       IT IS SO ORDERED.

                                                         /s/ Indira Talwani
                                                         United States District Judge
